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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 ELIEZER TAVERAS and VALERIA
 ROSA TAVERAS,

                      Plaintiffs,

 v.                                                       Case No: 6:20-cv-973-Orl-78EJK

 BANK OF AMERICA, N.A., SERVICE
 ONE INC. and CHRISTIANA TRUST,

                      Defendants.
                                            /

                                            ORDER

        THIS CAUSE is before the Court upon sua sponte review of the record. On August

 26, 2020, this Court ordered Plaintiffs to show cause on or before September 8, 2020,

 why this case should not be dismissed for failure to timely file a case management report.

 (Doc. 60 at 1). Plaintiffs were warned that failure to timely respond to the Order and file a

 case management report would result in dismissal without further notice. (Id.).

        Plaintiffs’ time for responding has now lapsed, and Plaintiffs have neither timely

 responded nor filed a case management report as directed by this Court. Therefore,

 pursuant to Federal Rule of Civil Procedure 16(f)(1)(C) and the inherent authority of this

 Court to regulate its docket, it is ORDERED and ADJUDGED that the Amended

 Complaint (Doc. 66) is DISMISSED without prejudice. The Clerk is directed to terminate

 all pending motions and close this case.

        DONE AND ORDERED in Orlando, Florida on September 24, 2020.
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 Copies furnished to:

 Counsel of Record
 Unrepresented Party




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